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                                            UNITED STATES DISTRICT COURT
                                                       for the
                                           EASTERN DISTRICT OF CALIFORNIA

                                       PRETRIAL SERVICES VIOLATION PETITION

   UNITED STATES OF AMERICA,                                                  Docket No. 2:12-CR-00169 MCE-010
              v.                                                              Federal Charges: On September 11, 2014, the
                                                                              defendant pled guilty to 21:846, 841(a)(1) –
             Eileen Knight                                                    Conspiracy to Distribute and Possess with
                                                                              Intent to Distribute Oxycodone.

COMES NOW, Steven J. Sheehan, Pretrial Services Officer of the Court, presenting an official report upon the conduct of
Eileen Knight, who was placed on bond by the Honorable Dale A. Drozd, U.S. Magistrate Judge, sitting in the Court at
Sacramento, California, on June 7, 2012, who imposed the following RELEVANT condition(s) of pretrial release which are at
issue in this report:

RELEVANT CONDITION(S): You shall refrain from any use of alcohol or any use of a narcotic drug or other controlled
substance without a prescription by a licensed medical practitioner; and you shall notify Pretrial Services immediately of any
prescribed medication(s). However, medicinal marijuana, prescribed or not, may not be used; and, you shall submit to drug
and/or alcohol testing as approved by the pretrial services officer. You shall pay all or part of the costs of the testing services
based upon your ability to pay, as determined by the pretrial services officer.

ALLEGED VIOLATION CONDUCT: The defendant submitted a urine specimen on August 22, 2014, at a federally
contracted facility in Los Angeles County, California. The urine specimen tested positive for marijuana and was deemed to be
diluted. Upon questioning, Ms. Knight admitted to using marijuana within the 30 days prior to her drug test date, and admitted
to drinking copious amounts of water in an effort to adulterate her urine specimen to avoid detection of marijuana use.

On September 9, 2014, Ms. Knight admitted to possessing a California medicinal marijuana card, something she failed to
previously disclose to her supervising pretrial officer in Los Angeles, California, and in violation of her conditions of release.

PRAYING THAT THE COURT WILL ORDER a bail violation hearing be calendared before the duty Magistrate Judge at
2:00 p.m. on Wednesday, October 15, 2014, to address the alleged violations of pretrial release.

I declare under penalty of perjury that the foregoing is true and correct.

                                                                             Respectfully submitted,


                                                                             /s/ Steven J. Sheehan
Dated: October 7, 2014                                                       U.S. Pretrial Services Officer/DATS
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                                                            ORDER

 ☐     The Court hereby orders a bench warrant be issued for the arrest of the defendant.
 ☐     The Court hereby orders this ex parte motion and order be sealed.
 ☐     The Court orders a summons be issued with an appearance date of               .
 ☒     The Court hereby orders this matter placed on this court's calendar on October 15, 2014 at 2:00 p.m., and orders the
       pretrial services officer to contact the defendant and/or attorney of record to advise them of said order.
 ☐     The Court orders no action be taken.
 ☐     Petition submitted by email/pdf and attested to me as true and accurate by telephone consistent with Fed. R. Crim. P. 4.1
       and 4(d) before me.



                                                                Carolyn K. Delaney
Dated: October 7, 2014                                          UNITED STATES MAGISTRATE JUDGE
